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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,
                                 Plaintiff,
 vs.                                                   Case No.13-CR-28 (29)–JED
                                                       Magistrate Judge Frank H. McCarthy
 CORRY PURIFY,
                                 Defendant (29).

                                       OPINION AND ORDER

        The Government’s Motion to Reopen Detention Hearing, [Dkt. 518], is before the

undersigned United States Magistrate Judge for decision. The motion seeks to “reopen”

the detention hearing under 18 U.S.C. § 3142(f)(2), or alternatively to “refile” a motion for

detention in this case. Defendant has filed a brief objecting to the motion. [Dkt. 529].

        At his Initial Appearance in this case, Defendant Purify was released on bond with

standard conditions of release.1           No detention hearing was conducted because the

Government did not move for detention and the court did not conduct a detention hearing

on its own motion. 18 U.S.C. § 3142 (f)(1) and (2).

        Because no detention hearing has been held concerning Defendant Purify in this

case, the court cannot “reopen” the detention hearing. Likewise, the court cannot grant the

Government’s request to “refile” a detention motion when one has never been filed.

        The Government’s Motion to Reopen Detention Hearing, [Dkt. 518], is therefore

DENIED.




        1
           Defendant Purify was subsequently charged with criminal conduct that occurred before his release
in this case, Case No.: 14-CR-154. Defendant Purify is detained in 14-CR-154.
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      SO ORDERED this 18th day of September, 2014.




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